       Case 2:18-cv-02340-AB-RAO Document 30 Filed 07/25/18 Page 1 of 1 Page ID #:199
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court     for the Central District of California (Western Division)                on the following
      G Trademarks or         ✔ Patents.
                              G             (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
 2:18-cv-2340-AB-RAO                       3/22/2018                        for the Central District of California (Western Division)
PLAINTIFF                                                                    DEFENDANT
 Timely Inventions, LLC                                                        Ring, Inc.



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7,861,865                                 1/4/2011                   Timely Inventions, LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 Plaintiff's Notice of Dismissal Pursuant to F.R.Civ.P. 41(a)(1)(A)(i) filed 7/24/2018.




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
KIRY K. GRAY                                                   G. Kami                                                         7/25/2018

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
